                               UNITED STATES DISTRICT COURT
                                           for the
                            EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Damien Edward Mitchell                                               Docket No. 4:11-CR-1-1H

                               Petition for Action on Supervised Release

COMES NOW Jonathan A. Holmes, U.S. Probation Officer of the court, presenting a petition for
modification of the Judgment and Commitment Order of Damien Edward Mitchell, who, upon an earlier
plea of guilty to 21 U.S.C. §841(a)(1), Distribution of 28 Grams or More of Cocaine Base (Crack), was
sentenced by the Honorable Malcolm J. Howard, Senior U.S. District Judge, on April 9, 2012, to the custody
of the Bureau of Prisons for a term of 120 months. It was further ordered that upon release from
imprisonment the defendant be placed on supervised release for a period of 60 months.

   Damien Edward Mitchell was released from custody on August 28, 2018, at which time the term of
supervised release commenced.

   On January 3, 2019, a violation report was submitted because the defendant tested positive for cocaine.
He was allowed to engage in substance abuse treatment and placed in the surprise urinalysis program.

    On June 27, 2019, the court was notified the defendant tested positive for cocaine again. He was allowed
to re-engage in substance abuse treatment and his drug testing frequency was increased.

    On August 21, 2019, a violation report was submitted because the defendant tested positive for
oxycodone. He continued to engage in substance abuse treatment and his drug testing frequency was
increased.

    On August 27, 2020, the court modified the defendant’s conditions of release, ordering him to complete
20 hours of community service. This modification was requested as a sanction for the defendant testing
positive for cocaine. He also continued to engage in substance abuse treatment and was enrolled in the
surprise urinalysis program.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

On October 1, 2020, the defendant submitted a drug test which returned positive for cocaine on October 8,
2020. The defendant is still engaged in substance abuse treatment. It is recommended the defendant be
enrolled in a cognitive behavioral program to address criminal thinking patterns and help avoid future risky
behavior. It is also recommended the defendant be placed on a 90-day term of location monitoring as a
sanction for his continued drug use. The defendant signed a Waiver of Hearing agreeing to the proposed
modification of supervision.

PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

   1. The defendant shall participate in a cognitive behavioral program as directed by the probation office.

   2. The defendant shall adhere to a curfew as directed by the probation officer for a period not to exceed
      90 consecutive days. The defendant is restricted to his residence during the curfew hours. The
      defendant shall submit to the following Location Monitoring: Radio Frequency monitoring and
      abide by all program requirements, instructions and procedures provided by the supervising officer.

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Except as herein modified, the judgment shall remain in full force and effect.

Reviewed and approved,                               I declare under penalty of perjury that the foregoing
                                                     is true and correct.


/s/ Maurice J. Foy                                   /s/ Jonathan A. Holmes
Maurice J. Foy                                       Jonathan A. Holmes
Supervising U.S. Probation Officer                   U.S. Probation Officer
                                                     310 New Bern Avenue, Room 610
                                                     Raleigh, NC 27601-1441
                                                     Phone: 9196104087
                                                     Executed On: October 16, 2020

                                       ORDER OF THE COURT

                                19th
Considered and ordered this _________              October
                                         day of ____________________, 2020, and ordered filed and
made a part of the records in the above case.

________________________________
Malcolm J. Howard
Senior U.S. District Judge




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